Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 1 of 7 PageID# 32
Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 2 of 7 PageID# 33
Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 3 of 7 PageID# 34
Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 4 of 7 PageID# 35



                                                 September 30, 2012
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Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 5 of 7 PageID# 36
Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 6 of 7 PageID# 37
Case 1:21-cr-00013-AJT Document 14 Filed 02/12/21 Page 7 of 7 PageID# 38
